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                                           NAILAH K. BYRD
                                   CUYAHOGA COUNTY CLERK OF COURTS
                                                    1200 Ontario Street
                                                   Cleveland, Ohio 44113




                                              Court of Common Pleas


                                               NOTICE OF REMOVAL
                                               December 13,2022 11:59


                                           By: SCOTT R. TORPEY 0081561

                                               Confirmation Nbr. 2724901



  MICHAEL DOMANN, ET AL                                                    CV 22 971208

          vs.
                                                                 Judge: KELLY ANN GALLAGHER
  FRONTIER AIRLINES, ET AL




                                                    Pages Filed: 60




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                         IN THE CUYAHOGA COUNTY COURT OF COMMON PLEAS

                                         CUYAHOGA COUNTY, OHIO

      MICHAEL DOMANN                                           )
      AND                                                      )
      MARY JO DOMANN                                           )         Case No. CV-22-971208
       10824 Watercress Road                                   )
       Strongsville, Ohio 44149                                )         Judge Kelly A. Gallagher
                                                               )
                          Plaintiffs,                          )
                                                               )         DEFENDANT FRONTIER AIRLINES,
                vs.                                            )           INC.’S NOTICE OF REMOVAL
                                                               )
      FRONTIER AIRLINES
                                                               )
      C/O CORPORATION SERVICE COMPANY
                                                               )
      3366 Riverside Drive, #103
                                                               )
      Upper Arlington, Ohio 43221
                                                               )
                                                               )
                                AND
                                                               )
                                                               )
      HUNTLEIGH USA CORP.
      5300 Riverside Drive                                     )

      Cleveland, Ohio 44135                                    )
                                                               )
                                AND                            )
                                                               )
      CITY OF CLEVELAND                                        )
      Cleveland Hopkins Airport                                )
      C/O 601 Lakeside Avenue E.                               )
      Cleveland, Ohio 44114                                    )
                                                               )
                          Defendants.                          )



                 DEFENDANT FRONTIER AIRLINES, INC.’S NOTICE OF REMOVAL

     TO:      THE CLERK OF COURT FOR THE CUYAHOGA COUNTY COURT OF
              COMMON PLEAS:

              PLEASE TAKE NOTICE that on December 13, 2022, Defendant Frontier Airlines, Inc.


     ("Frontier") removed the above-captioned action to the United States District Court for the


     Northern District of Ohio, Eastern Division, a copy of which is attached as Exhibit 1.




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     4872-1698-3106.vl
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              Pursuant to Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446 and all other applicable


     laws, this Court shall take no further action with regard to the above-captioned action unless and


     until the case is remanded.


                                                        Respectfully submitted,


                                                        JAFFE RAITT HEUER & WEISS, P.C.

                                                        By: /s/ Scott R. Torpey                    _
                                                                 Scott R. Torpey (0081561)
                                                                Timothy J. O’Connell (0097276)
                                                        Attorneys for Defendant Frontier Airlines, Inc.
                                                        27777 Franklin Road, Suite 2500
                                                        Southfield, Michigan 48034-8214
                                                        (248) 351-3000
                                                        storpey@j affelaw. com
                                                        toconnell@iaffelaw.com

                                         CERTIFICATE OF SERVICE

              I hereby certify that on December 13, 2022, I caused the foregoing document to be


     electronically filed with the Clerk of the Court using the ECF system, which sent notification of


     such filing upon all ECF Participants.



                                                                By:      /s/ Scott R, Torpey         __




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                                                EXHIBIT 1




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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION

         MICHAEL DOMANN
         AND
                                                                                  1:22-cv-2243
         MARY JO DOMANN                                               Case No.
         10824 Watercress Road
         Strongsville, Ohio 44149                                    Judge

                 Plaintiffs,


                 vs.

         FRONTIER AIRLINES
         C/O CORPORATION SERVICE
         COMPANY
         3366 Riverside Drive, #103
         Upper Arlington, Ohio 43221

                AND

         HUNTLEIGH USA CORP.
         5300 Riverside Drive
         Cleveland, Ohio 44135

                 AND

         CITY OF CLEVELAND
         Cleveland Hopkins Airport
         C/O 601 Lakeside Avenue E.
         Cleveland, Ohio 44114

                Defendants.




                 DEFENDANT FRONTIER AIRLINES, INC.’S NOTICE OF REMOVAL

               Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446 and all other applicable laws, and

        without waiving any rights, privileges, or defenses, Defendant Frontier Airlines, Inc. (“Frontier”)

        gives notice of removal of the above-captioned action from the Court of Common Pleas of

        Cuyahoga County, Ohio (the “State Court Action”) to the United States District Court for the

        Northern District of Ohio, Eastern Division. As grounds for removal, Frontier states as follows:



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        I.    STATEMENT OF FACTS

               1.       On November 10, 2022, Plaintiffs Michael Domann and Mary Jo Domann

       (collectively, the “Plaintiffs”) initiated the State Court Action by filing a Complaint in the Court

       of Common Pleas of Cuyahoga County, Ohio, against Defendants Frontier, Huntleigh USA Corporation


       (“Huntleigh”), and the City of Cleveland (“the City”) (Exhibit A: Complaint)

               2.      The Complaint alleges that Plaintiff Michael Domann (“Plaintiff’) is a paraplegic

       who allegedly has no use of his legs, uses a wheelchair, and thus is reliant on upper body strength

       in his shoulders and arms. (Id. at     2)

               3.      On February 16,2022, Plaintiff was a passenger on a Frontier flight from Cleveland

       Hopkins International Airport (“CLE”) to Orlando, Florida. (Id. at              3) Huntleigh allegedly

       “provides wheelchair services in and about” CLE. (Id. at pg. 2) In fact, Huntleigh provides

       wheelchair services for Frontier passengers at CLE pursuant to a Standard Ground Handling


       Agreement between Huntleigh and Frontier. (See Exhibit B Declaration of Timothy J. O’Connell

       (“O’Connell Decl.”) at Ex. 1 (SGHA excerpted pgs. 1-2)

               4.      The Complaint alleges that, for purposes of boarding the flight and being

       transported to his seat, Plaintiff is required to be transferred to an “aisle chair”: i.e., a wheelchair

       that fits in narrow aircraft aisles. (Id.) The Complaint alleges that “employees of the airlines

       [Frontier] or their agents [Huntleigh]” wheeled Plaintiff from the gate to the entrance to the aircraft

       and transferred him to an aisle chair. (Id. at   4) Plaintiff alleges that only one employee was assigned

       to wheel him onto the aircraft. (Id.) The one employee assigned to Plaintiff allegedly turned away,


       and Plainti ff was “dumped” from the aisle chair to the ground. (Id.)

               5.      According to the Complaint, Defendants’ actions caused the Plaintiff to sustain a

       fall onto his right shoulder, with ongoing weakness and pain in that shoulder requiring treatment,




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       and which may require surgery. (Id.              at      4-5) Additionally, Plaintiff allegedly requires

       additional ongoing daily assistance with his life functions. (Id. at              5) Furthermore, Plaintiff

       Mary Jo Domann, who is alleged to be Plaintiffs wife and “first caregiver,” allegedly suffers from

       loss of society, as well as the need to provide additional care to Plaintiff now and in the future. (Id.

       at^| 16)

                  6.       Through this lawsuit, Plaintiffs assert causes of action against all three Defendant,

       alike, for “strict liability,” “negligence and reckless disregard,” “punitive damages,” and

       “consortium.” (Id. atffl) 6-12, 15-16)

                  7.       The online docket in the State Court Action shows that Plaintiffs served Fronter by


       mail on November 17,2022. (Exhibit C). The online docket in the State Court Action shows that

       Huntleigh has not been served despite attempts on November 18 and 28, 2022. (Id.; see also 28

       U.S.C. § 1446(b)(2)(A) (“When a civil action is removed solely under section 1441(a), all

       defendants who have been properly joined and served must join in or consent to the removal of

       the action.”) (emphasis added). Thus, Huntleigh’s consent in this removal is not required.

                  9.       Additionally, as explained in detail below, the City was fraudulently joined in this

       action for the purpose of defeating complete diversity. Thus, the City’s consent in this removal is

       not required. See Chambers v. HSBC Bank USA, 796 F.3d 560, 564 (6th Cir. 2015) (finding that

       consent of fraudulently joined defendant is not needed for removal).

                  10.      As explained below, this action is removable to federal court under 28 U.S.C. §

        1332(a) because there is complete diversity of citizenship between the properly joined parties, the

       amount in controversy exceeds $75,000, and all the procedural requirements for removal are

       satisfied.

                  11.      Alternatively, Plaintiffs allege that federal law creates their causes of action, so this




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       action is removable to federal court pursuant to federal question jurisdiction under 28 U.S.C. §

       1331.


       II.     ARGUMENTS AND AUTHORITIES

               A.       There Is Complete Diversity of Citizenship Between Plaintiffs and the
                        Properly Joined Defendants, and More Likely Than Not the Amount in
                        Controversy Is in Excess of $75,000, So There is Diversity Jurisdiction Under
                        28 U.S.C. § 1332(a).

                        1.     There Is Complete Diversity of Citizenship Between the Properly
                               Joined Parties.

               12.      Because the properly joined Plaintiffs are citizens of Ohio, and the properly joined

       Defendants are citizens of Colorado, Missouri, and Texas, there is complete diversity of

       citizenship between the properly joined parties to this case and removal is proper under 28 U.S.C.

       § 1332(a).


               13.      Plaintiffs allege that they are residents of Strongsville, Ohio. (Ex. A pg. 1)).

       Because Plaintiffs bring this suit in their individual capacities, they are citizens of Ohio for removal


       purposes.

               14.      Plaintiffs correctly allege that Defendant Frontier is and was at all times relevant to

       these proceedings a corporation with its principal place of business in Denver, Colorado. (Id. at pg.


       2) Additionally, Frontier is incorporated in the State of Colorado. (See Ex. B, O’Connell Decl. at

       Ex. 2 (Frontier’s Secretary of State registration details) For the purposes of diversity jurisdiction,

       Frontier is a citizen of Colorado. See 28 U.S.C. § 1332(c)(1) (“For the purposes of this section and

       section 1441 of this title[,] a corporation shall be deemed to be a citizen of every State and foreign

       state by which it has been incorporated and of the State or foreign state where it has its principal

       place of business”).

               15.      Plaintiffs inaccurately or incompletely allege that Defendant Huntleigh is “officed”


       in Cleveland, Ohio. (Ex. A pg. 2) However, whether Huntleigh maintains an office in Ohio is not



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       relevant to the jurisdictional analysis. See 28 U.S.C. § 1332(c)(1). Instead, Huntleigh is

       incorporated in the State of Missouri, and Huntleigh has its principal place of business in Texas.


       (See Ex B, O’Connell Decl. at Ex. 3; id. at Ex. 4). Thus, for the purposes of diversity jurisdiction,

       Huntleigh is acitizen of Missouri and Texas. See 28 U.S.C. § 1332(c)(1).

                16.      As explained more fully below, Defendant City of Cleveland was fraudulently

       joined in this litigation. Therefore, its citizenship, should not be considered for purposes of the

       diversity analysis. Coyne v. Am. Tobacco Co., 183 F.3d488, 493 (6th Cir. 1999).

                17.      Because the City was fraudulently joined, Plaintiffs are Ohio citizens, and the

       properly joined Defendants are citizens of Colorado, Missouri, and Texas, there is complete

       diversity of citizenship. See 28 U.S.C. § 1332(a).


                         2.     The Diversity-Defeating Party, the City of Cleveland, Was
                                Fraudulently Joined.

                18.      Even where the face of a complaint shows a lack of complete diversity, removal

       based on diversity jurisdiction is nonetheless proper if the non-diverse parties were fraudulently

       joined. See Coyne, 183 F.3d at 493 (“[The] fraudulent joinder of non-diverse defendants will not

       defeat removal on diversity grounds.”). A party is fraudulently joined where “there can be no

       recovery under the law of the state on the cause alleged” or where there is “no reasonable basis for

       predicting that the state law might impose liability on the facts involved.” Alexander v. Elec. Data

       Sys. Corp., 13 F.3d 940, 949 (6th Cir. 1994). When determining whether a party has been

       fraudulently joined, the Court applies at test similar to the analysis under a Rule 12(b)(6) motion

       to dismiss. Casias v. Wal-Mart Stores, Inc., 695 F.3d 428, 433 (6th Cir. 2012).

                19.      Here, the Ohio citizenship of Defendant City of Cleveland should be ignored under

       the doctrine of fraudulent joinder because the Complaint fails to state a claim for relief against the

       City. See Casias, 695 F.3d at 433.




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               20.      The Complaint alleges that “employees of the airlines [Frontier] or their agents

       [Huntleigh]” wheeled Plaintiff from the gate to the entrance to the aircraft and transferred him to an

       aisle chair. (Id. at ^[ 4) Plaintiff alleges that only one such employee was assigned to wheel him onto

       the aircraft. (ZJ.) The one employee assigned to Plaintiff allegedly turned away and Plaintiff was


       “dumped” from the aisle chair to the ground, (Zd.) Plaintiff alleges that the aisle chair was not

       properly staffed with a “second employee to help him with the transfer to and the movement of

       the aisle chair” (Id. at ffl] 11, 14) Additionally, Plaintiff alleges that the foregoing incident was

       cause by an aisle chair that “was not properly managed or equipped,” and that the condition of the

       aisle chair was not properly maintained. (Id. at ffl[ 10, 14) All of the foregoing allegations are

       directed to Frontier and/or Huntleigh, and none are directed to the City.


               21.      Instead, Plaintiffs merely allege that the City “owns and operates” CLE. (Ex. A,

      pg. 1) Additionally, Plaintiffs allege that the City “is subject to Title 49 of the U.S. Code in its duty

      to provide a safe airport which is adaptive to handicapped usage.” (Id:, see also id. at ^[ 6) Plaintiffs

       also appear to allege that the City is liable under Title 29. (See id. at   6 (“Under.. .29 USC citizens

       of the U.S. have a public right of transit through navigable U.S. airspace and both airlines and

       airports have a duty to protect individuals utilizing these airports...”); id. at     9 (“Section 502 29

      USC 792 requires that airports and airlines in [sic] their respective agents are required to make

      their facilities accessible for handicapped people”); id. at ^[ 11 (“.. .a disgraceful violation of 29

      USC 92.”)

               22.      The Complaint, however, does not allege any facts showing how the City’s

       ownership or operation of CLE caused or contributed to the alleged aisle chair incident. (Id.,

      generally) Additionally, the Complaint does not allege facts showing that a defect or hazards on

      the airport premises caused or contributed to the incident. (Id.) Furthermore, the Complaint does




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       not allege that any acts or omissions by any City employees or agents caused or contributed to the

       alleged incident. (Id.) Moreover, Plaintiffs do not allege that the City owned, operated, maintained,

       equipped, or staffed the aisle chair. (Id.)

               23.      The basis for Plaintiffs’ claims against the City under Title 49 and Tile 29 is totally

       unclear. Nevertheless, the Complaint does not allege any facts whatsoever regarding any

       architectural or other barriers confronted by Plaintiff at CLE or any discrimination against Plaintiff

       at CLE such that liability could be imposed on the City. Plaintiffs do not allege any facts showing

       that CLE is unsafe, inaccessible, not “adaptive to handicapped usage,” or specifically failed to

       accommodate Plaintiffs specific disability. (Id.) To the contrary, the Complaint expressly alleges

       that Plaintiff was being accommodated and assisted from the airport terminal to all the way to his

       seat on the aircraft. However, Plaintiff allegedly did not make it to his seat only because the aisle

       chair moved (id. at 4), and not because of any alleged airport issues.

               24.      Based on the alleged facts, there is “no reasonable basis for predicting that any law

       might impose liability on the City. The factual allegations in the Complaint cannot support a

       finding of liability against the City based on the “strict lability” or “negligence” causes of action

       alleged in the Complaint, or indeed based on any theoiy of recovery. The factual allegations in the

       Complaint do not plausibly demonstrate any right of recovery against the City. Plaintiffs simply

       offer conclusory allegations that the City is liable. Plaintiffs bald claims against the City are

       deficient as a matter of law and are not sufficient to state a colorable claim for relief. See Murray

       Energy Holdings Co. v. Bloomberg, L.P., No. 2:15-CV-2845, 2016 WL 3355456, at *4 (S.D. Ohio

       June 17, 2016) (concluding that one of the plaintiffs was fraudulently joined after noting that the

       complaint did not contain specific factual allegations required to state a misappropriation claim

       and offered “mere legal conclusions as to ‘Plaintiffs” trade secret information”).




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               25.       Regarding the “consortium” claim alleged by Plaintiffs wife, under Ohio law, “a

       claim for loss of consortium is derivative in that the claim is dependent upon the defendant’s

       having committed a legally cognizable tort upon the spouse who suffers bodily injury.” BoM’en v.

       Kil-Kare, Inc., 63 Ohio St. 3d 84, 93, 585 N.E.2d 384 (1992). Because Plaintiff fails to state a

       claim against the City, as set forth above, the derivative loss of consortium claim must fail, too.

               26.       Because Plaintiffs have not, and cannot, state colorable claims for relief against

       Defendant City of Cleveland, the City was fraudulently joined and its citizenship must be ignored

       in the diversity analysis. Coyne, 183 F.3d at 493.


                         3.     The Amount in Controversy Exceeds $75,000.

               27.       Plaintiff alleges that he is a paraplegic who allegedly has no use of his legs, uses a


       wheelchair, and thus is reliant on upper body strength in his shoulders and arms. (Ex. A         2; see

       also Exhibit D: Letter of representation (“You must understand the importance of his shoulder to

       a man who has no use of his legs.”)) As a result of the alleged incident, Plaintiff allegedly an injury

       to his right shoulder, with continuing weakness and pain in that shoulder requiring treatment, and

       which may require surgery. (7 d. at 1fl|4-5) Additionally, Plaintiff allegedly requires additional

       ongoing daily assistance with his life functions. These injuries and damages allegedly exceed

       $25,000 in damages. Thus, the amount on controversy is at least $25,000.01.

               28.      In light of the severity of the allegations, the preponderance of the evidence

       demonstrates there is a reasonable possibility that the amount in controversy exceeds $75,000,


       exclusive of interest and costs. See Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547,

       554 (2014) (“[A] defendant’s notice of removal need only include a plausible allegation that the

       amount in controversy exceeds the jurisdictional threshold. Evidence establishing the amount is

       required by § 1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant’s

       allegation.”).


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               29.      There is complete diversity of citizenship between Plaintiffs and the properly joined

       Defendants, and more likely than not the amount in controversy is in excess of $75,000, so this

       Court has original jurisdiction under 28 U.S.C. § 1332(a).


               B.       In the Alternative, the Complaint Alleges That Federal Law Creates Plaintiff’s
                        Causes of Action, So There is Federal Question Jurisdiction Under 28 U.S.C.
                        § 1331.

               30.      “Congress has given the lower federal courts jurisdiction to hear, originally or by

        removal from a state court, only those cases in which a well-pleaded complaint established either

        that federal law creates the cause of action or that the plaintiffs right to relief necessarily depends

        on resolution of a substantial question of federal law.” Palkow v. CSX Transportation, Inc., 431

        F.3d 543, 552 (6th Cir.2006), (quoting Franchise Tax Board v. Constr. Laborers Vacation Trust,

        463 U.S. 1, 27, 103 S.Ct. 2841, 77 L.Ed.2d 420 (1983)).

               31.      Here, Plaintiff expressly alleges that federal law creates his causes of action.


        Specifically, Plaintiff alleges causes of action arising under Title 49 and Title 29. (Ex. A $6). As

        discussed above, Plaintiff fails to state claims against the City under Titles 49 and 29 as a matter

        of law, which demonstrates that the City was fraudulently joined. If the Court finds, however,

        that Plaintiff did not fail to state claims against the City under Titles 49 and 29, or that Plaintiff

        has stated colorable claims against Fronter or Huntleigh under Title 49 and/or Title 29, then such

        claims provide a basis for this Court’s federal question jurisdiction under 28 U.S.C. § 1331.


               C.       The Procedural Requirements for Removal Are Satisfied.

               32.      This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b) because it

       is filed within 30 days after Plaintiffs served Frontier with the Complaint by mail on November

       17,2022. 28 U.S.C. §§ 1446(b)(1), 1446(b)(2)(B) (“Each defendant shall have 30 days after receipt

       by or service on that defendant of the initial pleading or summons described in paragraph (1) to

       file the notice of removal.”). Additionally, this Notice of Removal is filed less than one year after



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       the commencement of the State Court Action. 28 U.S.C. § 1446(c)(1).

               33.      Venue is proper because this is the District Court for the district and division

       embracing the place where the State Court Action was pending (Cuyahoga County, Ohio). 28

       U.S.C. § 1441(a).

               34.      As explained above, Defendant Huntleigh has not been proper joined and served,

       and Defendant City of Cleveland was fraudulently joined in this action, so Frontier does not need

       the consent of the other Defendants. 28 U.S.C. 1446(b)(2)(A) (“When a civil action is removed

       solely under section 1441(a), all defendants who have been properly joined and served must join

       in or consent to the removal of the action.”) (emphasis added); Chambers, 796 F.3d at 564 (finding

       that consent of fraudulently joined defendant is not needed for removal).

               35.      Pursuant to 28 U.S.C. § 1446(d), Frontier is providing Plaintiffs with written notice

       of the filing of this Notice of Removal and is filing a copy of this Notice of Removal with the

       Clerk of the Court of Common Pleas of Cuyahoga County, Ohio.

               36.      Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings,


       and orders filed in the State Court Action as of the date of removal are attached. (Exhibit E)

               37.      Frontier has paid all appropriate and applicable fees of this Court.

               Therefore, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, Defendant Frontier

        Airlines, Inc. hereby removes the above-captioned State Court Action from the Court of Common

        Pleas of Cuyahoga County, Ohio.




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                                                        Respectfully submitted,

                                                        JAFFE RAITT HEUER & WEISS, P.C.

                                                        By: /s/ Scott R. Torpey
                                                                Scott R. Torpey (0081561)
                                                                Timothy J. O’Connell (0097276)
                                                        Attorneys for Defendant Frontier Airlines, Inc.
                                                        27777 Franklin Road, Suite 2500
                                                        Southfield, Michigan 48034-8214
                                                        (248)351-3000
                                                        storpey@iaffelaw.com
                                                        toconnell@i affelaw.com

                                          CERTIFICATE OF SERVICE

               I hereby certify that on December 13, 2022, I caused the foregoing document to be

       electronically filed with the Clerk of the Court using the ECF system, which sent notification of

       such filing upon all ECF Participants.



                                                                 By:     /s/ Scott R. Torpey         __




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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

         MICHAEL DOMANN
         AND
         MARY JO DOMANN                                              Case No.
         10824 Watercress Road
         Strongsville, Ohio 44149                                   Judge

                Plaintiffs,


                vs.

         FRONTIER AIRLINES
         C/O CORPORATION SERVICE
         COMPANY
         3366 Riverside Drive, #103
         Upper Arlington, Ohio 43221

                AND

         HUNTLEIGH USA CORP.
         5300 Riverside Drive
         Cleveland, Ohio 44135

                AND

         CITY OF CLEVELAND
         Cleveland Hopkins Airport
         C/O 601 Lakeside Avenue E.
         Cleveland, Ohio 44114

                Defendants.



                                INDEX OF EXHIBITS TO
                 DEFENDANT FRONTIER AIRLINES, INC.’S NOTICE OF REMOVAL



            Exhibit           Description
               A              Complaint - Cuyahoga County, Ohio

               B              Declaration of Timothy O’Connell

               C              Civil Case Docket - Cuyahoga County, Ohio



                                                           1
ElectrorfiCgnyFlietf12/13Z2Q22 11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901 / CLDLJ
         Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 17 of 61. PageID #: 244
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                D           Letter of Representation

                E           State Court Pleadings




                                                            2
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        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 18 of 61. PageID #: 245
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                                        EXHIBIT A




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        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 19 of 61. PageID #: 246
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                                                 IN THE COURT OF COMMON PLEAS
                                                    CUYAHOGA COUNTY, OHIO




                 MICHAEL DOMAF                                )   CASE NO.:
                 AND           .                              )
                 MARYJODOMANN                                 )
                 10824 Watercress Re ad                       )
                 Strongsville, Ohio 44149.                    )
                                                              )
                                                              )   JUDGE
                                   Plaintiffs,                )
                                                              )
                         vs.                                  )   COMPLAINT
                                                              )
                 FRONTIER AIRLINES                            )
                 C/O CORPORATION SERVICE CO.                  )
                 3366 Riverside Drive, #103                   )
                 Upper Arlington, Chip 43221                  )
                                                              )
                               AND                            )
                                                              )
                 HUNTLEIGH USA CORP.                          )
                 5300 Riverside Drive                         )
                 Cleveland, Ohio 4413i5                       )
                                                              )
                                   AND                        )
                                                              )
                 CITY OF CLEVELAND                            )
                 Cleveland Hopkins Aiiport                    )             ■
                C/O 601 Lakeside Av'enue E.                   )
                 Cleveland, Ohio 441114                       )
                                                              )
                                   Defendants                 )


                                                              PARTIES



                         Plaintiffs Michael and Mary Jo Domann are Husband and Wife and each natural bom


                U.S, Citizens and residents of Strongsville, Cuyahoga County, Ohio.




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                                                                                                           I
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                          Defendant Frontier Airlines is major airline carrier as designated by the U.S.


                  Department of Transportation whose main offices are headquartered in Denver, Colorado but


                 keep offices and other minimum contacts in the State of Ohio where the airlines conduct


                  significant business. Defendant Frontier Airlines is subject to Title 49 of the U.S. Code in the


                 conduct of its business.


                          The City of Cleveland owns and operates Cleveland Hopkins Airport the 43rd busiest


                 airport in the U.S and as such is subject to Title 49 of the U.S. Code in its duty to provide a


                 safe airport which is adaptive to handicapped usage.


                          Defendant Huntleigh USA Corporation is officed in Cleveland, Ohio at the Hopkins


                 Airport complex and provides wheelchair services in and about the Cleveland Hopkins


                 Complex.


                                                                         FACTS




                                  1. Michael Domann is a retired U.S. Treasury employee who lives with his


                                       wife Mary Jo in Strongsville, Ohio.       Mary Jo is employed by Cuyahoga


                                       County. They also own a home in Daytona Beach, Florida;


                                  2.   Michael has been a paraplegic since age 17 as a result of an automobile
                                         i               .....                         ...........
                                       accident. He has had no use of his legs in the last 45 years but has been


                                       quite adaptive to the use of his wheelchair and a modified environment in


                                       his home and van with the use of his upper body strength in his shoulders


                                       and his arms;




                                                                -2-

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                                 3, Michael arrived at Cleveland Hopkins Airport on February 16, 2022 to fly


                                      to Orlando on Frontier Airlines Flight 1045. As is the normal procedure in


                                      the facilitating paraplegic or any wheelchair limited fliers they must be


                                      transferred to “aisle chair” wheelchairs which fit airplane aisles before


                                      being transferred to their assigned seat for flight;


                                 4.   Oh this occasion employees of the airlines or their agents wheeled Mr.


                                      Domann from the gate to the entrance to the place and transferred him to


                                      this “aisle chair”.   Only one employee was assigned to Mr, Domann to


                                      wheel him onto the plane.        In his experience he had always had two


                                      assigners to seating him and to the management of wheeling the “aisle


                                      chair” onto and inside the airplanes.         The chair in question gave on

                                      movement as the one employee assigned Mr Domann turned away and Mr.


                                      Domann Was “dumped” from his seat landing on his right shoulder. Since


                                      his fall from the “aisle chair”, Plaintiff Michael Domann has suffered from


                                      we akness and pain his his right shoulder and may require surgery;

                                 5. Mi*. Domann has         additionally, since his injury required additional


                                      assistance in going about his daily functions and has required additional

                                      pain medication as treatment for his shoulder.


                                                                    COUNTONE
                                                                    Strict Liability



                                 6. Under 49 USC and 29 USC citizens of the U.S. have a public right of


                                      trapsit through navigable U.S. airspace and both airlines and airports have a

                                      duty to protect individuals utilizing, these airports and. airlines and have a




                                                      -3-
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                                       special duty of care in making these facilities safe and. accessible to the


                                       handicapped.


                                  7.   When Michael Domann was in the care of the agents of the Defendants on


                                       the runway between the airplane door and the aisles the craft those agents


                                       ir “respondent superior” where strictly and wholly responsible for Mr.


                                       D omann’s care and the Defendants are strictly liable in Tort for the acts of


                                       tit ose agents which are the proximate cause of injury, pain and suffering


                                       apd a need to special cost and care.


                                                                 COUNT TWO
                                                            Negligence and Reckless Disregard



                                  8.   p: aintiffs incorporate Paragraphs 1 - 7 as if fully rewritten herein.

                                  9.   Section 502 29 USC 792 requires that airports and airlines in their


                                       respective agents are required to make their facilities accessible for


                                       handicapped people. Defendants therefore had a duty of care toward ticket


                                       holder Plaintiff to care for his special needs in the boarding process.


                                  10. Defendants breached that duty of care in allowing Plaintiff to faff from the


                                       “aisle chair” which was not properly managed or equipped.


                                  11. Pl tintiff alleges that the absence of a second employee to help him with the


                                       transfer to and the movement of the “aisle chair” constitutes a willful and


                                       wanton and reckless disregard for Plaintiff in a disgraceful violation of 29


                                       USC 92..


                                  12. This disregard for Plaintiffs and are the direct and proximate result of these


                                       in uries now and in the future.



                                                              -4-

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                                                                     COUNT THREE
                                                                    Punitive Damages

                                   13. Plaintiffs hereby incorporate Paragraphs I - 13 as if folly rewritten herein.


                                   14. Plaintiffs allege that failure to properly staff the use of the "aisle chair” and


                                       properly maintain condition to said chair is egregious and was knowingly


                                       authorized by Defendants and that the understaffing of that boarding was


                                       khowingly authorized, participated in and ratified by Defendants and these


                                       omissions which caused Plaintiff injuries.


                                                                  COUNT EOUR
                                                                   Consortium,
                                   15. Plaintiffs hereby incorporate Paragraphs 1 14 as if fiilly rewritten herein.


                                   16. Plaintiff Mary Jo Domann is the spouse and first caregiver of her husband


                                       and as a proximate cause of his injury due to the actions of Defendants

                                       Mary Jo Domann suffers from the additional loss of society of her spouse


                                       and is required to provide additional care to him now and will suffer such


                                       damage in the future.


                          WHEREFORE, Plaintiffs pray for judgment as the Court deems proper in an amount

                          in excess of $25,000.00 along with, such other and further relief as the Court deems


                          warranted under the circumstances in law or in equity.


                                                             Respectfully^



                                                             CASSIDY & ASSOCIATES (\
                                                             MICHAEL P. CASSIDY - #0(5OT 087
                                                             Attorney for Plaintiffs
                                                             11221 Pearl Road, Suite 5
                                                             Strongsville, Ohio 44136-3344
                                                             (440) 728-7000
                                                             (440) 846-9770 Facsimile
                                                             Email: cassidylawfirm@gmail.com
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        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 24 of 61. PageID #: 251
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                                         IN THE COURT OF COMMON PLEAS
                                              CUYAHOGA COUNTY, OHIO




         MICHAEL DOMANN                                )   CASE NO.:
         AND                                           )
         MARY JO DOMANN                                )
          10824 Watercress Road                        )
          Strongsville, Ohio 44149                     )
                                                       )
                                                       )   JUDGE
                          Plaintiffs,                  )
                                                       )
                  vs;                                  )   INSTRUCTIONS FOR SERVICE
                                                       )
         FRONTIER AIRLINES                             )
         C/O CORPORATION SERVICE CO.                   )
         3366 Riverside Drive, #103                    )
         Upper Arlington, Ohio 43221                   )
                                                       )
                        AND                            )
                                                       )
         HUNTLEIGH USA CORP-                           )
         5300 Riverside Drive                          )
         Cleveland, Ohio 44135                         )
                                                       )
                        AND                            )
                                                       )
         CITY OF CLEVELAND                             )
         Cleveland Hopkins Airport                     )                                   '
         C/O 601 Lakeside Avenue E.                    )
         Cleveland, Ohio 44114                         )
                                                       )
                          Defendants                   )


         TO THE CLERK:


                          Please serve the Complaint upon the following Defendants, Frontier Airlines, c/o


         Corporation Service Company at 3366 Riverside Drive, #103, Upper Arlington, Ohio 43221:


         Huntleigh USA Corporation at 5300 Riverside Drive, Cleveland Ohio 44135; and. City of




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          Cleveland, at Cleveland Hopkins Airport, c/o. 601 Lakeside Avenue E.„ Cleveland, Ohio 44114,


          by Certified Mail, Return Receipt Requested pursuant to Civil Rule 4 - 4.6.


                    '                              Respectfully submitted,




                                                   /s/MICHAEL P. CASSIDY
                                                   CASSIDY & ASSOCIATES
                                                   Attorneys for Plaintiffs Michael and Mary Jo Domaxin
                                                   By: MICHAELP.CASSIDY-#0001087
                                                   11221 Pearl Road, Suite 5
                                                   Strongsville, Ohio 44136-3344
                                                   440-728-7000
                                                   440-846--9770 - Facsimile
                                                   Email: cassidylawfirm@gmail.com




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        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 26 of 61. PageID #: 253
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                                        EXHIBITS




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                                  IN THE UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

          MICHAEL DOMANN
          AND
          MARY JO DOMANN                                              Case No.
          10824 Watercress Road
          Strongsville, Ohio 44149                                    Judge

                 Plaintiffs,


                 vs.

         FRONTIER AIRLINES
         C/O CORPORATION SERVICE
         COMPANY
         3366 Riverside Drive, #103
         Upper Arlington, Ohio 43221

                 AND

         HUNTLEIGH USA CORP.
         5300 Riverside Drive
         Cleveland, Ohio 44135

                 AND

          CITY OF CLEVELAND
          Cleveland Hopkins Airport
          C/O 601 Lakeside Avenue E.
          Cleveland, Ohio 44114

                 Defendants.



                                 DECLARATION OF TIMOTHY J. O’CONNELL

               In accordance with 28 U.S.C. § 1746,1 hereby declare the following:

                1.         My name is Timothy J. O’Connell. I am a partner at the law firm of Jaffe Raitt

       Heuer & Weiss, P.C., which represents Defendant Frontier Airlines, Inc. (“Frontier”) in litigation

       originally filed in the Court of Common Pleas of Cuyahoga County, Ohio, as Case No. CV-22-

       971208, Michael Domann, et al. v. Frontier Airlines, Inc., et al., which Frontier is removing to the




Electronically Filed 12/13/2022 11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901- / CLDLJ
       4868-2454-9442.vl                                                   .
        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 28 of 61. PageID #: 255
                 Case: l:22-cv-02243 Doc #: 1-3 Filed: 12/13/22 3 of 17. PagelD #: 24




       United States District Court for the Northern District of Ohio, Eastern Division. I am over 18 years

       of age, of sound mind, and capable of making this declaration.

               2.          The document attached as Exhibit 1 hereto is a true and correct copy of a two-page

       excerpt of the Standard Ground Handling Agreement between Frontier and Huntleigh USA

       Corporation for services at the Cleveland Hopkins International Airport (“CLE”) during the

       relevant time period.

               3.          The document attached as Exhibit 2 hereto is a true and correct copy of the

       Colorado Secretary of State’s summary for Frontier that I downloaded from the Colorado Secretary

       of State’s website on December 4, 2022.

               4.          The document attached as Exhibit 3 hereto is a true and correct copy of the results

       of my business name search for “Huntleigh USA Corporation” on the Missouri Secretary of State

       website on November 30, 2022.

               5.          The document attached as Exhibit 4 hereto is a true and correct copy of the “About

       Huntleigh” webpage that I downloaded from the Huntleigh USA Corporation website at

       https://www. https://huntleighusa.com/about.html on December 4, 2022.

               I declare under penalty of perjury that the foregoing is true and correct.

               Executed on the Sth day of December, 2022.




                                                                /s/ Timothy J. O’Connell
                                                                Timothy J. O’Connell




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       4868-2454-9442.V1
        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 29 of 61. PageID #: 256
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                                          Exhibit 1




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          STANDARD GROUND BANDUNG AGREEMENT - SIMPLIMED PROCEDURE

                 ANNEX B10.1-LOCATION(s), AGREED SERVICES. AND CHARGES



        to the Standard Ground Handling Agreement (SGHA) of 2013

         between:                                   Frontier Airlines, Inc,

         having its principal office at:            4545 Airport Way-
                                                    Denver, GO 80239


         and hereinafter referred to as the ^Carrier”


         and:                                       Huntleigh USA Corporation

         having its principal office at:            545 E. John Carpenter Freeway, Suite 175
                                                    living, TX 75062


         and hereinafter referred to as the “Handling Company”

         the Carrier and/or the Handling Company may hereinafter be referred to as “the Party(ies)"

         effective from                             January   2019

         This Annex B10.T for

         the locationfs):                           Cleveland Hopkins international Airport (the “Airport” and
                                                    “CLE”)

         is valid from:                             January 1,2020

         and replaces:                              B10.0


        PREAMBLE:                                             :

        This Annex B is prepared in accordance with the simplified procedure whereby the Parties agree that
        the terms of the Main Agreement and Annex A of the SGHA of 2013 aspublished by the international
        Air Transport Association shall apply to this. Annex B as if such terms were repeated here in frill. By
        signing this Annex B, the Parties confirm that they are familiar with the aforementioned Main
        Agreement and Annex A.



        PARAGRAPH 1. HANDLING SERVICES AND CHARGES
        1.1. For a single ground handling consisting of the Arrival and subsequent departure at agreed timings
             of the same aircraft, the Handling Company shall provide the following services of Annex A:

                 SECTION 2. PASSENGER SERVICES                    i
                 2,1,3 When requested by the Carrier,             | ‘
                       (a) provide
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                SECTION 6. SUPPORT SERVICES                [                  '
                6.2   Automated/Compater"or MaiiraalliecoFding. Systems
                6.2.2 Perform the following functions in
                      (b) Handling Company’s system
                      for
                      (11) Other functions --Wheelchair Services dispatch, tracking, data compilation
                      (request times, response times, move information, compliments., complaints, etc.)

        1X      Rates (in USD) for the services defined in sub-paragraph l.Lof this Annex® are as
                 follows:                .                     :

                2020            __
                         USD sMIner turn


                2021+         __
                         USD S^HBpef tum (Effective January 1st, 2021)



                Perfbimance Credits (Effective January I, 2019)

                Monthly Performance.
                                                                                     Station Monthly Departures
                                                                                    <63        63-212.      >212.
                                    <95% of Planned Pushes w/in 10 mins.                  off of monthly invoice
                                   <97% of Unplanned Pushesjw/in 20 mins.            B/o off of monthly invoice
                   Wheelchairs
                                   >30 Minute Unattended or Wait(s)                     S^^per Occurrence
                               .    \ Missing Wh.eelchait.Data                   ^■DayJ sB'Day            sfeS^Dav
                               ; Verified camplajnt re service for which                  sBiner Occurrence
                   Complaints)
                                  the Handling Company can’t disprove
                     Uniforms               Incomplete, dirty, untidy             iBBper.Occurrence, or Complaint

        1.3.    In case of a change in mandated regulations effecting pay rates, hours/scope of operation, or
                employee benefits, the Handling Company may request a renegotiation of rates Upon, ninety ($0)
                days’written notice to the Carrier.           i
                       .      .       ‘          ......         I.. .        ..                ...
        1.4.    No extra charges beyond what is specifically stated above will be made for providing services on
                legal holidays, weekends, evenings, or at night

         1.5.    Above indicated rates Wfllbe applicable for non-schedrjled/diverted fli^its as well duringfhe term
                 of this Agreement.                             i

        PARAGRAPH 2, ADDITIONAL SERVICES AND CHARGES

        2.1.    AU seryices.not included in Paragraph. I of this Annex that the Carrier requests will be charged
                at the rate(s) agreed to by the Parties.




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                                          Exhibit 2




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12/4/22, 7:45am             Case: l:22-cv-02243 Doc #: l-3oiFH®ckecJba^a/aaeascrfir&Jy PagelD#:29




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documents
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notification                Details
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notification                                    '■   . . : Name FRONTIER AIRLINES, INC.
Unsubscribe from text
notification                                             Status Good Standing                   | :       Formation date 02/08/1994
                                                                19941015653                     j;
                                                     ID number                                        ■        ■   Form. Corporation
Business Home
Business Information                     Periodic report month February                                     Jurisdiction Colorado
Business Search
                               Principal office street address 4545 Airport Way, Denver, CO 80239, United States

FAQs, Glossary and
                             Principal office mailing address 4545 Airport Way, Denver, CO 80239, United States
Information


                            Registered Agent

                                                          Name Corporation Service Company

                                                Street address 1900 W. Littleton Boulevard, Littleton, CO 80120, United States

                                               Mailing address 1900 W. Littleton Boulevard, Littleton, CO 80120, United States


                                 Filing history and documents

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                                          Exhibit 3




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              Case: 1:22-cv-02243-BMB
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                                                      1-3 FiledfesduaUiSAaSF2i6b£)f       35 of 61. PageID #: 262
                                                                                    17. PagelD#:31




                                                Gen. Business - For Profit Details as of 11/30/2022
                                                                                                                                                                                                      %
                                                                                                                                                                                     Required Field


    File Documents - select the filing from the "Filing Type” drop-down list, then click FILE ONLINE.


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                RETURN TO                                   Create Filing                                                                                 FILE
                SEARCH RESULTS                                                                                                                            ONLINE
                                                             Articles of Amendment


                ORDER COPIE

                CERTIFICAT


            Genera! information      ^^-FilingS^--^^- Principal Office Address : - - | -^ Contact(s) —■ I

                                                 Name(s)         HUNTLEIGH USA CORPORATION                                   Principal Office Address      545 E John Carpenter Fwy
                                                                                                                                                           ste 175
                                                                                                                                                           Irving, TX 75062-3931

                                                     Type        Gen. Business - For Profit                                               Charter No.      00361677

                                              Domesticity        Domestic                                                                Home State        MO

                                        Registered Agent         NATIONAL REGISTERED AGENTS.                                                   Status      Good Standing
                                                                 INC.
                                                                 120 South Central Avenue
                                                                 Clayton, MO 63105

                                            Date Formed          1/17/1992


                                                 Duration       Perpetual

                                         Renewal Month          January
                                         ......................................................................................... i. !

                                              Report Due         4/30/2023


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        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 36 of 61. PageID #: 263
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                                          Exhibit 4




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              Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 37 of 61. PageID #: 264
12/4/22, 7:48 AM       Case: l:22-cv-02243 Doc#: iHSntiRjleKifeAi<2^1r3t/a2-AMtofirljJghPagelD#: 33


    ss Huntleigh USA Corporation - About Huntleigh




                                                                    HUNTLEIGH
                                                                               LAS
                                            IJynHeigh USA Corp Sect ox Ghent Portal
                                            Hurnlcigh USA \AGaaS Support Ticketing
                                                            System
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                                      : For general information, we will happily contact you within 2 - 3

                                                                                                business days.
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https://huntleighusa.com/about.html                                                                                                                                                                      1/6
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     = Huntleigh USA Corporation - About Huntleigh




                                                                   Quick facts
                                                                           History
                                             A "A'A ,AA a        — A                        .

                                             : ■ ■A         / ■ A Acquired by ICTS USA Inc. -1999:      <

                                             aA-Aa- A Aviation and Related, Services-2000 a

                                             AA        a . - Video Surveillance as a Solution - 2013

                                             -a-a/'/a A- Real Time Operations Center-2013 ■

                                              A : ■:         a       Advanced RTOC - 2016           ;   A




                                                                  Who we are
                                                                         About nn
                                AA Established in 1992, Huntleigh USA Corporation rapidly became a

                                A : global leader in developing tailored, comprehensive, and effective

                                      "security solutions for individuals and businesses alike. In 1999,/

                                      A Huntleigh USA Corporation was acquired by ICTS USA Inc., a a

                                  subsidiary of ICTS International N.V., which has played a major role

                                         :        A     :   :a   in aviation security since 1982.           :   <



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https://huntleighusa.com/about.html                                                                                 2/6
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12/4/22, 7:48 am         Case: l:22-cv-02243 Doc#: iH&itiSjlemfcA 42^13i/a2 AMtefirlSigh Page ID #: 35


      = Huntleigh USA Corporation - About Huntleigh
     ;/'7;?77;/ 7;/ ;:77/7l:               / and Aviation Security Solutions and Services to commercial and                 ■■■■ 7;:77-

 / <;7;;7:;7:7' ; ■ ? :        :               private companies with varying operational volumes and needs: ;;/ , , ; 7;



.;;:;/; ;;/;;;:' :/                7,      ;;J Thisadvantage, combined with Huntleigh' USA:Corporation's;/ ; <

 .                  ;■;77 7;' nationwidesupport structure, qualifies it as the low risk, best value                                 J

 ;:77.- ;;; ..choice to meet the demanding requirements of any organization:; ;;                                                         ;

 ;: ::; ;       7      7 /77            / /:    ;Our goal is to enhance the.success of our/cliehts/and their ./'/.;:;;■:                 :

 ;: ..7 7^f.   7             7 ;/ . ; operations by providing superior security, service and consulting 7:                          77

 ;' < ; 7:7..;: ::: ; 7 ■ with the highest degree of integrity and responsiveness;:: /;                                         :    7



 : ;7 , :      ; : :         ; 7 7^:                                        thrives in a culture of trust, equality,7       ?

 /; ;:7777.\ 7:: ;/7 7 7 teamwork, responsibility, highaxpectations, dependability and open ::                                               ;

<: 77 ;: 7" ;            7         :■:E communication with not only its employees and shareholders, but 7 -/';; 7

 : 77;:7/;::;/;;;;;:;;;;;;;:;;;;;;:;:^                            ^hbbve;all7:jts'customers7:::;:7::;;:7:;7;:;7:77;77::7;7;/



: 7.:.:;;; ; ': : 7                        Huntleigh USA Corporation - We know how important security and                           7 :

7|;;:/7777::/7;;;;:7;;7;;;;;:;;;7;:;:::;;:7:::;;'/7::::777:::;;t;




                                                            i )ur mission fMocUveo
                                                7 :; Deliver a professional tailored service to meet our clients1       <
                                           7; ;7; 77 7; j        specific heeds and objectives.           7     ; ;77

                                          >7 Provide our clients with a service that exceeds all expectations.

                                               » ;Gain the trust and;Understanding of bur clients' current needs :/:

                                          and future visions arid to provide dedication in pursuing the highest

                                           7 ; ; professional standard of security, and safety services.:;';:




                                                             Looking for a career?
J:iiectrdnicaiiyliled?2/13/2022:i:i:59: /:NOTlCE://CV/22:/97l2p8;//Confirmation: Nbr:::2724907//CLDLJ:

https://huntleighusa.com/about.html                                                                                                              3/6
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                                                              Our'man|g|ment




                                                                      RfchdrOporn




                                                                         Dennis Fox
>7 ; :        7: : 7 7\ 7:     7    ■        7:             : 7 Richard Spprn - Chief Executive Officer      <7   /: 7

     ■        7 7            7 7        77 Richard.was appointed as the Chief Executive Officer of Huntleigh             ■

                                                  USA Corporation Corporation, a wholly-owned subsidiary of ICTS

 :       77                  ';77 A.-.            International N.V. in 2005, Prior to his appointment, Richard held 7

7         7/ 77              7:          :               numerous senior leadership foies at Huntleigh USA          7 7

         /                        7 7        Corporatiori/ICTS during his more than 20 year tenure. Directly prior
7 Electronically Filed : 12/13/2022 11:59 /-'NOTICE. I CV 22 971208 7 Confirmation Nbr72724901 /. CLDLJ

https://huntleighusa.com/about.html                                                                                          4/6
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               = Huntleigh USA Corporation - About Huntleigh
                                                                             and Training and in that role served as the key Huntleigh USA

     .                                             .                               Corporation individual responsible for client contracts,            ; A'T'

     : a                  .                    :                     ::cornmunications,.and overall client Satisfaction. Prior to assuming / f t:

/ / /? '                  7        ://///:             /        :< 7/ / corporateistaff responsibilities at Huntleigh USA Corporation,                      /:     i ■

t / / /;■ /■, f                     : :/ ://           //       / // /       Richard/served/as Managing Director for ICTS fgf/nine years in                      7 ///       7/:

 / / </                                 f / /, /// : /              / / /    Vienna, Austria With full-range operational responsibilities/ for.: ./f /.                 t ///:

//:                                      "V.,'::t//■'.?://' : finance, service delivery, administration, and client satisfaction: t                                     // / /

                                                                       Prior to that, Richard served ICTS as an internal Senior Consultant

                                                            -                for its operations in Asia, South America, and Europe where he

                                           . /: ?                    / ensured superior service delivery via effective recruiting, selection,                      :    f\

 i         '          7       :            j :/ /.../.:■;/.'''nrf                                 training,:and auditing programs.       < f    ' ": /f/vij-/:'//■//.//<;..

r         V/ :: vf 7. /;: ■: 7;:                           : o .:j7.::         7        7. Dennis Fox 7 National Director of Operations .■ /. 7 : 77://////.//'.                   :

 i p                                .     :: .7-7/7/            :      - Dennis joined Huntleigh USA Corporation in 1999 and serves as                           h /.


 :             : /                      f / ■ ■                        : National Director of Operations for Huntleigh USA Corporation :: :

:                                                      /:       7 // <         Corporation. Upon assuming his fole with Huntleigh USA/777 f/:' : /

                                                                         Corporation Corporation, Dennis brought with him more than ten

                                                   :/?//years combined experience from aviation service companies such                                                 /:

     /:         / .                     7f Vf/h/b'f/'                    7    as ITS and Andy Frain Services. His responsibilities included /./                             / / :

7 <77/■/ ■                        7: / 77/v 77-.7 7.                   aviation regulatory compliance, business development, and overall                          /.■ I f -/ -■

/ /A :               / //f 7//.Pf:/;/////:///- operations. Dennis is accomplished in business development, client                                                 : /        / 7/

 / / ■// /                         /-7777777.■/777 V7--y:.                          /    /: : /   relations, and internal auditing.   ' 7-7-7 : :     : 7    / : /•/’// 7




https://huntleighusa.com/about.html                                                                                                                                                    5/6
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    = Huntleigh USA Corporation - About Huntleigh




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                                        EXHIBIT C




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  skip to main content
                                                                  Print

                                                    CASE INFORMATION

  CV-22-971208 MICHAEL DOMANN, ET AL vs. FRONTIER AIRLINES, ET AL


                                                        Docket Information


                   Docket   Docket                                                                    View
  Filing Date                      Docket Description
                   Party    Type                                                                      Image
  11/28/2022       D2       SR     CERTIFIED MAIL RECEIPT NO. 49071783 RETURNED 11/17/2022 FAILURE OF
                                   SERVICE ON DEFENDANT HUNTLEIGH USA CORP. - NOT DELIVRBL AS ADDR
                                   NOTICE MAILED TO PLAINTIFF(S) ATTORNEY
  11/23/2022       N/A      SR     USPS RECEIPT NO. 49071782 DELIVERED BY USPS 11/17/2022 FRONTIER
                                   AIRLINES PROCESSED BY COC 11/23/2022.
  11/18/2022       N/A      SR     CERTIFIED MAIL RECEIPT NO. 49071783 RETURNED 11/17/2022 FAILURE OF
                                   SERVICE ON DEFENDANT HUNTLEIGH USA CORP. - UNABLE TO FORWARD
                                   NOTICE MAILED TO PLAINTIFF(S) ATTORNEY
  11/15/2022       D3       SR     SUMS COMPLAINT(49071784) SENT BY CERTIFIED MAIL TO: CITY OF
                                   CLEVELAND 601 LAKESIDE AVENUE E. CLEVELAND, OH 44114                                    1
  11/15/2022       D2       SR     SUMS COMPLAINT(49071783) SENT BY CERTIFIED MAIL TO: HUNTLEIGH
                                   USA CORR 5300 RIVERSIDE DRIVE CLEVELAND, OH 44135                                       1
  11/15/2022 DI             SR     SUMS COMPLAINT(49071782) SENT BY CERTIFIED MAIL. TO: FRONTIER
                                   AIRLINES 3366 RIVERSIDE DRIVE, #103 UPPER ARLINGTON, OH 43221                           i
  11/14/2022       N/A      SR     SUMMONS E-FILE COPY COST
  11/14/2022       N/A      SR     SUMMONS E-FILE COPY COST
  11/14/2022       N/A      SR     SUMMONS E-FILE COPY COST
  11/14/2022       D3       CS     WRIT FEE
  11/14/2022       D2       CS     WRITFEE
  11/14/2022       D1       CS     WRIT FEE
  11/10/2022       N/A      SF     JUDGE KELLY ANN GALLAGHER ASSIGNED (RANDOM)
  11/10/2022       P1       SF     LEGAL RESEARCH
  11/10/2022       P1       SF     LEGAL NEWS
  11/10/2022       P1       SF     LEGAL AID
  11/10/2022       P1       SF     COURT SPECIAL PROJECTS FUND
  11/10/2022       P1       SF     COMPUTER FEE
  11/10/2022       P1       SF     CLERK'S FEE
  11/10/2022       P1       SF     DEPOSIT AMOUNT PAID MICHAEL P CASSIDY
  11/10/2022       N/A      SF     CASE FILED: COMPLAINT, SERVICE REQUEST                                                  B
  Only the official court records available from the Cuyahoga County Clerk of Courts, available in person, should be relied upon
  as accurate and current.
  Website Questions or Comments.
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                                        EXHIBIT D




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                                                                                             440-846-0000 excl. 222
                                                                                                440-846-0)770-fax;



       June 29, 2022

       City of Cleveland
       Department of Law
       601 Lakeside Avenue
       Cleveland, Ohio 44113
       Attn: Cleveland Hopkins Claims

       In re: My client: Michael A. Domann
              Incident boarding 2/16/22
              Frontier Airlines Flight 1045
              Cleveland to Orlando

       Dear Sirs or Madams:

       This office represents Michael Domann who was injured at Cleveland Hopkins on 2/16/2022 while
       boarding the above captioned flight at Hopkins Airport.

       Mr. Domann is a retired U.S. Treasury employee who is a paraplegic.

       On the day in question he had been transferred from his wheelchair to an “aisle chair” by employees of
       your company and/or Frontier and/or Hopkins. At the plane door his aisle-chair was mishandled and he
       was pitched out of the chair and suffered injury to his shoulder and neck.

       We are awaiting his medical records, but believe some of this injury is of a permanent nature. You must
       understand the importance of his shoulder to a man who has no use of his legs.

       We need to assess Cleveland Hopkins’ involvement and responsibility in this matter.

       We ask that you provide us with an incident report and that you open a claims file and forward to us the
       contact information of your claims ’representative. Feel free to contact me.




                                                                                         RECEIVED
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                                                                                           CITY OF CLEVELAND
                                                                                          DEPARTMENT OF LAW




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                                        EXHIBIT E




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                  Case: l:22-cv-02243 Doc #: 1-6 Filed: 12/13/22 2 of 12. PagelD #: 44




                                             NAILAHK. BYRD
                                     CUYAHOGA COUNTY CLERK OF COURTS
                                                     1200 Ontario Street
                                                    Cleveland, Ohio 44113




                                               Court of Common Pleas


                                     New Case Electronically Filed: COMPLAINT
                                              November 10,2022 10:32


                                           By: MICHAEL P. CASSIDY 0001087

                                                Confirmation Nbr. 2699466



     MICHAEL DOMANN, ET AL                                                  CV 22 971208

            vs.
                                                                  Judge: KELLY ANN GALLAGHER
     FRONTIER AIRLINES, ET AL




                                                     Pages Filed: 5




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                 Case: l:22-cv-02243 Doc#: 1-6 Filed: 12/13/22 3 of 12. PagelD#:45




                                                IN THE COURT OF COMMON PLEAS
                                                     CUYAHOGA COUNTY, OHIO




                 MICHAEL DOMANN                                  )   CASE NO.:
                 AND                                             )
                 MARY JO DOMANN                                  )
                 10824 Watercress Road                           )
                 Strongsville, Ohio 44149                        )
                                                                 )
                                                                 )   JUDGE
                                  Plaintiffs,                    )
                                                                 )
                          vs.                                    )   COMPLAINT
                                                                 )
                 FRONTIER AIRLINES                               )
                 C/O CORPORATION SERVICE CO.                     )
                 3366 Riverside Drive, #103                      )
                 Upper Arlington, Ohio 43221                   ')
                                                                 )
                                AND                              )
                                                                 )
                 HUNTLEIGH USA CORP.                             )
                 5300 Riverside Drive                            )
                 Cleveland, Ohio 44135                           )
                                                                 )
                                AND                              )
                                                                 )
                 CITY OF CLEVELAND                               )
                 Cleveland Hopkins Airport                       )
                 C/O 601 Lakeside Avenue E.                      )
                 Cleveland, Ohio 44114                           )
                                                                 )
                                  Defendants                     )


                                                                 PARTIES



                         Plaintiffs Michael and Mary Jo Domann are Husband and Wife and each natural bom


                U.S. Citizens and residents of Strongsville, Cuyahoga County, Ohio.




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                          Defendant Frontier Airlines is major airline carrier as designated by the U.S.


                 Department of Transportation whose main offices are headquartered in Denver, Colorado but


                 keep offices and other minimum contacts in the State of Ohio where the airlines conduct


                 significant business. Defendant Frontier Airlines is subject to Title 49 of the U.S. Code in the


                 conduct of its business.


                          The City of Cleveland owns and operates Cleveland Hopkins Airport the 43rd busiest


                 airport in the U.S and as such is subject to Title 49 of the U.S. Code in its duty to provide a


                 safe airport which is adaptive to handicapped usage.


                         Defendant Huntleigh USA Corporation is officed in Cleveland, Ohio at the Hopkins


                 Airport complex and provides wheelchair services in and about the Cleveland Hopkins


                 Complex.


                                                                            FACTS




                                  1.   Michael Domann is a retired U.S. Treasury employee who lives with his


                                       wife Mary Jo in Strongsville, Ohio.          Mary Jo is employed by Cuyahoga


                                       County. They also own a home in Daytona Beach, Florida;


                                  2.   Michael has been a paraplegic since age 17 as a result of an automobile


                                       accident. He has had no use of his legs in the last 45 years but has been


                                       quite adaptive to the use of his wheelchair and a modified environment in


                                       his home and van with the use of his upper body strength in his shoulders


                                       and his arms;




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                                  3. Michael arrived at Cleveland Hopkins Airport on February 16, 2022 to fly


                                       to Orlando on Frontier Airlines Flight 1045. As is the normal procedure in


                                       the facilitating paraplegic or any wheelchair limited fliers they must be


                                       transferred to “aisle chair” wheelchairs which fit airplane aisles before


                                       being transferred to their assigned seat for flight;


                                  4.   On this occasion employees of the airlines or their agents wheeled Mr,


                                       Domann from the gate to the entrance to the place and transferred him to


                                       this “aisle chair”.    Only one employee was assigned to Mr. Domann to


                                       wheel him onto the plane.           In his experience he had always had two


                                       assignors to seating him and to the management of wheeling the “aisle


                                       chair” onto and inside the airplanes.            The chair in question gave on


                                       movement as the one employee assigned Mr Domann turned away and Mr.


                                       Domann was “dumped” from his seat landing on his right shoulder. Since


                                       his fall from the “aisle chair”, Plaintiff Michael Domann has suffered from


                                       weakness and pain Iris his right shoulder and may require surgery;


                                  5. Mr, Domann has additionally, since his injury required additional


                                       assistance in going about his daily functions and has required additional


                                       pain medication as treatment for his shoulder.


                                                                       COUNT ONE                         '
                                                                       Strict Liability



                                  6.   Under 49 USC and 29 USC citizens of the U.S. have a public right of


                                       transit through navigable U.S. airspace and both airlines and airports have a


                                       duty to protect individuals utilizing these airports and airlines and have a




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                                       special duty of care in making these facilities safe and accessible to the


                                       handicapped.


                                  7. When Michael Domann was in the care of the agents of the Defendants on


                                       the runway between the airplane door and the aisles the craft those agents


                                       in “respondent superior” where strictly and wholly responsible for Mr.


                                       Domann’s care and the Defendants are strictly liable in Tort for the acts of


                                       those agents which are the proximate cause of injury, pain and suffering


                                       and a need to special cost and care.


                                                                  COUNT TWO
                                                             Negligence and Reckless Disregard



                                  8. Plaintiffs incorporate Paragraphs 1 - 7 as if fully rewritten herein.


                                  9.   Section 502 29 USC 792 requires that airports and airlines in their


                                       respective agents are required to make their facilities accessible for


                                       handicapped people. Defendants therefore had a duty of care toward ticket


                                       holder Plaintiff-to care for his special needs in the boarding process.


                                  10. Defendants breached that duty of care in allowing Plaintiff to fall from the


                                       “aisle chair” which was not properly managed or equipped.


                                  11. Plaintiff alleges that the absence of a second employee to help him with the


                                       transfer to and the movement of the “aisle chair” constitutes a willful and


                                       wanton and reckless disregard for Plaintiff in a disgraceful violation of 29


                                       USC 92..


                                 12. This disregard for Plaintiffs and are the direct and proximate result of these


                                       injuries now and in the future.



                                                               _4_
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                                                                   COUNT THREE
                                                                  Punitive Damages

                                 13. Plaintiffs hereby incorporate Paragraphs 1 - 13 as if fully rewritten herein.


                                 14. Plaintiffs allege that failure to properly staff the use of the "aisle chair” and


                                     properly maintain condition to said chair is egregious and was knowingly


                                     authorized by Defendants and that the understaffing of that boarding was


                                     knowingly authorized, participated in and ratified by Defendants and these


                                     omissions which caused Plaintiff injuries.


                                                                COUNTFOUR
                                                                 Consortium
                                 15. Plaintiffs hereby incorporate Paragraphs 1 14 as if fully rewritten herein.


                                 16. Plaintiff Mary Jo Domann is the spouse and first caregiver of her husband


                                     and as a proximate cause of his injury due to the actions of Defendants


                                     Mary Jo Domann suffers from the additional loss of society of her spouse


                                     and is required to provide additional care to him now and will suffer such


                                     damage in the future.


                        WHEREFORE, Plaintiffs pray for judgment as the Court deems proper in an amount

                        in excess of $25,000.00 along with such other and further relief as the Court deems


                        warranted under the circumstances in law or in equity.




                                                           CASSIDY & ASSOCIATES (\
                                                           MICHAEL P. CASSIDY - #00ffi087
                                                           Attorney for Plaintiffs
                                                           11221 Pearl Road, Suite 5
                                                           Strongsville, Ohio 44136-3344
                                                           (440) 728-7000
                                                           (440) 846-9770 Facsimile

  Electronically Filed 11/10/2022 10:32/ /CV 22 971208/Confir®                                 -Com
Electronically Filed 12/13/2022 11:59 / NOTICE I CV 22 971208 1 Confirmation Nbr. 2724901 I CLDLJ
             Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 54 of 61. PageID #: 281
                   Case: l:22-cv-02243 Doc#: 1-6 Filed: 12/13/22 8 of 12. PagelD#:50

                           THE COURT OF COMMON PLEAS, CIVIL DIVISION
                                   CUYAHOGA COUNTY, OHIO
          Clerk of Courts | The Justice Center | 1200 Ontario Street 1st Floor, Cleveland, Ohio 44113

 MICHAEL DOMANN, ET AL                                                       CASE NO. CV22971208
 Plaintiff
                                                                               JUDGE KELLY ANN GALLAGHER
V.

 FRONTIER AIRLINES. ET AL
                                                                            SUMMONS                 sumo cm
 Defendant                                                                  Notice ID:   49071783
                                                                            49071783



From:     MICHAEL DOMANN                               R1        Atty.:   MICHAEL P CASSIDY
          10824 WATERCRESS ROAD                                           11221 PEARL ROAD
          STRONGSVILLE OH 44136                                           SUITES
                                                                          STRONGSVILLE, OH 44136-0000



To:     HUNTLEIGH USA CORP.                           D2
        5300 RIVERSIDE DRIVE
        CLEVELAND OH 44135




                                               NOTICE TO THE DEFENDANT:

The Plaintiff has filed a lawsuit against you in this Court. You are named as a defendant. A copy of the Complaint is
attached.

If you wish to respond to the Complaint, you must deliver a written Answer to the Plaintiff’s attorney (or the Plaintiff if
not represented by an attorney) at the above address within 28 days after receiving this Summons (not counting the
day you received it). A letter or a phone call will not protect you. Civil Rule 5 explains the ways that you may deliver
the Answer (http://www.supremecourt.ohio.gov/LegalResources/Rules/civil/CivilProcedure.pdf)

You must also file a copy of your Answer with this Court within 3 days after you serve it on the Plaintiff. You can file
your Answer with the Clerk of Courts by one of the following methods: 1) In-person or by mail at the above address
or 2) electronically through the online e-Filing system. For more information on using the e-Filing system, visit
http://coc.cUyahogacounty.us/en-US/efiling.aspx.

If you fail to serve and file your Answer, you will lose valuable rights. The Court will decide the case in favor of the
Plaintiff and grant the relief requested in the Complaint by entering a default judgment against you.

You may wish to hire an attorney to represent you. Because this is a civil lawsuit, the Court cannot appoint an
attorney for you. If you need help finding a lawyer, contact a Ideal bar association and request assistance.



                                                         Nailah K. Byrd
                                               Clerk of Court of Common Pleas
                                                          216-443-7950




 Date Sent: 11/14/2022
                                                                                           Deputy
CMSN130




Electronically Filed 12/13/2022 11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901 / CLDLJ
        Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 55 of 61. PageID #: 282




Electro nically Filed 12/13/2022 11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901 / CLDLJ
                Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 56 of 61. PageID #: 283
                     Case: l:22-cv-02243 Doc#: 1-6 Filed: 12/13/22 10 of 12. PagelD#:52
                            THE COURT OF COMMON PLEAS, CIVIL DIVISION
                                    CUYAHOGA COUNTY, OHIO
            Clerk of Courts | The Justice Center | 1200 Ontario Street 1st Floor, Cleveland, Ohio 44113

 MICHAEL DOMANN, ET AL                                                           CASE NO. CV22971208
    Plaintiff
                                                                                   JUDGE KELLY ANN GALLAGHER
v
 FRONTIER AIRLINES. ET AL
                                                                                SUMMONS                 sumc cm
 Defendant                                                                      Notice ID:   49071782
                                                                                49071782



From:       MICHAEL DOMANN                             P1        Atty.:    MICHAEL P CASSIDY
            10824 WATERCRESS ROAD                                          11221 PEARL ROAD
            STRONGSVILLE OH 44136                                          SUITES
                                                                           STRONGSVILLE, OH 44136-0000



To:       FRONTIER AIRLINES                           D1
          C/O CORPORATAION SERVICE COMPANY
          3366 RIVERSIDE DRIVE, #103
          UPPER ARLINGTON OH 43221




                                               NOTICE TO THE DEFENDANT:

The Plaintiff has filed a lawsuit against you in this Court. You are named as a defendant. A copy of the Complaint is
attached.

If you wish to respond to the Complaint, you must deliver a written Answer to the Plaintiff’s attorney (or the Plaintiff if
not represented by an attorney) at the above address within 28 days after receiving this Summons (not counting the
day you received it). A letter or a phone call will not protect you. Civil Rule 5 explains the ways that you may deliver
the Answer (http://www.supremecourt.ohio.gov/LegalResources/Rules/civil/GivilProcedure.pdf)

You must also file a copy of your Answer with this Court within 3 days after you serve it on the Plaintiff. You can file
your Answer with the Clerk of Courts by one of the following methods: 1) In-person or by mail at the above address
or 2) electronically through the online e-Filing system. For more information on using the e-Filing system, visit
http://coc.cuyahogacounty.us/en-US/efiling.aspx.

If you fail to serve and file your Answer, you will lose valuable rights. The Court will decide the case in favor of the
Plaintiff and grant the relief requested in the Complaint by entering a default judgment against you.

You may wish to hire an attorney to represent you. Because this is a civil lawsuit, the Court cannot appoint an
attorney for you. If you need help finding a lawyer, contact a local bar association and request assistance.



                                                         Nailah K. Byrd
                                               Clerk of Court of Common Pleas
                                                          216-443-7950


                                                                                                  v     J
 Date Sent: 11/14/2022                                                    By.
                                                                                               Deputy
CMSN130




Electronically Filed 12/13/2022 11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901 / CLDLJ
       Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 57 of 61. PageID #: 284
                                           Doc #: 1-6 Filed: 12/13/22 11 of 12. PagelD #: 53

           POSTAL SERVICE




 Date Produced: 11/21/2022

 CERTIFIED MAIL SOLUTIONS INC.:

 The following is the delivery information for Certified Mail™/RRE item number 9314 8001 1300 3547
 3018 85. Our records indicate that this item was delivered on 11/17/2022 at 04:55 a.m. in COLUMBUS,
 OH 43221. The scanned image of the recipient information is provided below.
                                .Signature
 Signature of Recipient:
                                                                        S-SSK
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                                ‘ ••■’••’♦taine
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 Address of Recipient:
                                   pdt*<y
                                   Metros#




 Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
 please contact your local post office or Postal Service representative.

 Sincerely,
 United States Postal Service

 The customer reference number shown below is not validated or endorsed by the United States Postal
 Service. It is solely for customer use.




EieCtOaiyWYMSfegWfeW&Yffi CVW97T208 /confirmation Nbr. 2724901 / cldlj
             Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 58 of 61. PageID #: 285
                  Case: l:22-cv-02243 Doc#: 1-6 Filed: 12/13/22 12 of 12. PagelD#:54

                            THE COURT OF COMMON PLEAS, CIVIL DIVISION
                                    CUYAHOGA COUNTY, OHIO
          Clerk of Courts | The Justice Center | 1200 Ontario Street 1st Floor, Cleveland, Ohio 44113

 MICHAEL DOMANN, ET AL                                                       CASE NO. CV22971208
 Plaintiff
                                                                               JUDGE KELLY ANN GALLAGHER
V.

 FRONTIER AIRLINES, ET AL
                                                                            SUMMONS                 sumc cm
 Defendant                                                                  Notice ID:   49071784
                                                                            49071784



From:     MICHAEL DOMANN                               P1        Atty.:   MICHAEL P CASSIDY
          10824 WATERCRESS ROAD                                           11221 PEARL ROAD
          STRONGSVILLE OH 44136                                           SUITE 5
                                                                          STRONGSVILLE, OH 44136-0000



To:     CITY OF CLEVELAND                             D3
        CLEVELAND HOPKINS AIRPORT
        601 LAKESIDE AVENUE E.
        CLEVELAND OH 44114




                                               NOTICE TO THE DEFENDANT:

The Plaintiff has filed a lawsuit against you in this Court. You are named as a defendant. A copy of the Complaint is
attached.

If you wish to respond to the Complaint, you must deliver a written Answer to the Plaintiff’s attorney (or the Plaintiff if
not represented by an attorney) at the above address within 28 days after receiving this Summons (not counting the
day you received it). A letter or a phone call will not protect you. Civil Rule 5 explains the ways that you may deliver
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You must also file a copy of your Answer with this Court within 3 days after you serve it on the Plaintiff. You can file
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http://coc.cuyahogacounty.us/en-US/efiling.aspx.

If you fail to serve and file your Answer, you will lose valuable rights. The Court will decide the case in favor of the
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You may wish to hire an attorney to represent you. Because this is a civil lawsuit, the Court cannot appoint an
attorney for you. If you need help finding a lawyer, contact a local bar association and request assistance.



                                                         Nailah K. Byrd
                                               Clerk of Court of Common Pleas
                                                          216-443-7950



Date Sent: 11/14/2022
                                                                                           Deputy
CMSN130




Electronically Filed 12/13/2022 11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901 / CLDLJ
                     Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 59 of 61. PageID #: 286
                                     Case: l:22-cv-02243 Doc#: 1-7 Filed: 12/13/22 lot 3. PagelD#:55

     AS 44 (Rev. 3/22)                                                                    CIVIL COVER SHEET
     The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
     provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
     purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
     i. (a) PLAINTIFFS                                                                                                       DEFENDANTS
               Michael Domann, et al.                                                                                        Frontier Airlines, et al.
         (b) County of Residence of First Listed Plaintiff                    ___                                            County of Residence of First Listed Defendant                  Denvert Colorado
                                       (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                        (IN US. PLAINTIFF CASES ONLY)                                 '
                                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.

         (c) Attorneys (Firm Name, Address, and Telephone Number)                                                            Attorneys (IfKnown)

               Michael P. Cassidy (0001087), 11221 Pearl Road, Suite                                                     Scott R. Torpey (0081561), Jaffe Raitt Heuer & Weiss, P.C.,
               5, Strongsville, OH 44136 (440) 846-0000                                                                  27777 Franklin Road, Suite 2500, Southfield, Ml 48034
                                                                                                                         (2481 351-3000                                                   H
     II. BASIS OF JURISDICTION (Place an "A'” in One Box Only)                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES               -r-m One Boxfin-Plaintiff
                                                                                                                                                 ’ ’
                                                                                                                         (Par Diversity Cases Only)                                         and One Boxfor Defendant)
 |    11    U.S. Government                  |     |3    Federal Question                                                                          PTF            DEF                                             PTF            DEF
               Plaintiff                                    (U.S. Government Not a Party)                          Citizen of Tins State
                                                                                                                                                   KI1                1    Incorporated or Principal Place
                                                                                                                                                                             of Business In This State
                                                                                                                                                                                                                        4          4



 |    12   U.S. Government                  [x]4         Diversity                                                 Citizen of Another State                           2    Incorporated and Principal Place             5        05
               Defendant                                   (Indicate Citizenship ofParties in lion 111)                                                                      of Business In Another State

                                                                                                                   Citizen or Subject of a             3              3    Foreign Nation                               <5         6
                                                                                                                     Foreign Country

     IV. NATURE OF SUITfP/gceaB "X” In One Box Only)                                                                                                   Click here for: Nature of Suit Code Descriptions.
               CONT RACT                                                      TORTS                                /FORREITURE/PENALTY                              BANKRUPTCY                        OIlIFRSTATUTr.S                  |
    ___ 110 Insurance
    _ 120 Marine
    __ 130 Miller Act
                                                  PERSONAL INJURY
                                           0310 Airplane
                                                   315 Airplane Product
                                                                                |
                                                                                       PERSONAL INJURY
                                                                                      | 365 Personal Injury -
                                                                                            Product Liability
                                                                                                                   23 625 Drug Related Seizure
                                                                                                                          of Property 21 USC 881
                                                                                                                      690 Other
                                                                                                                                                       0        422 Appeal 28 USC 158
                                                                                                                                                                423 Withdrawal
                                                                                                                                                                     28 USC 157
                                                                                                                                                                                              3     375 False Claims Act
                                                                                                                                                                                                    376 QuiTain (31 USC
                                                                                                                                                                                                         3729(a))
    _ 140 Negotiable Instrument                        Liability                I     | 367 Health Care/                                                                                            400 State Reapportionment
    _ 150 Recoveiy of Overpayment                | 320 Assault, Libel &                     Pharmaceutical                                                        INTELLECTUAL                      410 Antitrust
          & Enforcement of Judgmentt                  Slander                               Personal Injury                                                     PROPER VY RIGHTS                    430 Banks and Banking


0     151 Medicare Act
       152 Recoveiy of Defaulted
                                                  330 Federal Employers’
                                                      Liability                 |
                                                                                            Product Liability
                                                                                      | 368 Asbestos Personal
                                                                                                                                                             820 Copyrights
                                                                                                                                                           “ 830 Patent'
                                                                                                                                                                                                    450 Commerce
                                                                                                                                                                                                    460 Deportation



|
           Student Loans
           (Excludes Veterans)
      1153 Recovery of Overpayment
                                           3      340 Marine
                                                  345 Marine Product
                                                      Liability
                                                                                           Injury Product
                                                                                           Liability
                                                                                     PERSONAL PROPERTY                         LABOR:                  |
                                                                                                                                                           _     835 Patent Abbreviated
                                                                                                                                                                     New Drug Application
                                                                                                                                                               | 840 Trademark
                                                                                                                                                                                                    470 Racketeer Influenced and
                                                                                                                                                                                                        Corrupt Organizations
                                                                                                                                                                                                  480 Consumer Credit
          of Veteran’s Benefits
    _ 160 Stockholders’ Suits
       190 Other Contract
                                           3      350 Motor Vehicle
                                                  355 Motor Vehicle
                                                  Product Liability
                                                                                    _ 370 Other Fraud
                                                                                    _ 371 Truth in Lending
                                                                                    _ 380 Other Personal
                                                                                                                     1710 Fair Labor Standards
                                                                                                                          Act
                                                                                                                   2] 720 Labor/Management
                                                                                                                                                       |


                                                                                                                                                       .
                                                                                                                                                               | 880 Defend Trade Secrets
                                                                                                                                                                    Act of 2016
                                                                                                                                                                 SOCIAL SECURITY
                                                                                                                                                                                                      (15 USC 1681 or 1692)
                                                                                                                                                                                                | 485 Telephone Consumer
                                                                                                                                                                                                        Protection Act
    _____ 195 Contract Product Liability
          196 Franchise
                                           2] 360 Other Personal
                                                  Injury
                                           2J 362 Personal Injury -
                                                                                |
                                                                                           Property Damage
                                                                                      1385 Property Damage
                                                                                           Product Liability      B
                                                                                                                          Relations
                                                                                                                      740 Railway Labor Act
                                                                                                  751 Family and Medical
                                                                                                                                                       rj 861 HIA (1395ff)
                                                                                                                                                          862 Black Lung (923)
                                                                                                                                                       ~ 863 DIWC/DIWW (405(g))
                                                                                                                                                       (j 864 SSID Title XVI
                                                                                                                                                                                              3     490 Cable/Sat TV
                                                                                                                                                                                                    850 Securities/Commodities/
                                                                                                                                                                                                        Exchange
                                                    Medical Malpractice                               Leave Act                                                                                     890 Other Statutoiy Actions
           REAL PROPERTY.                          CIVIL RIGfiTs        | PRISONER PETITIONS ■ 23 790 Other Labor Litigation                                    865 RSI (405(g))                    891 Agricultural Acts
       210 Land Condemnation               _ 440 Oilier Civil Rights             Habeas Corpus:                   _ 1791 Employee Retirement                                                        893 Environmental Matters
       220 Foreclosure                           441 Voting                    0463 Alien Detainee                        Income Security Act          IHF^ERtoTAXiSuiTS^                           895 Freedom of Information
       230 Rent Lease & Ejectment          _ 442 Employment                 510 Motions to Vacate                                                               870 Taxes (U.S. Plaintiff               Act
       240 Torts to Land
       245 Tort Product Liability
       290 All Other Real Property
                                           _ 443 Housing/
                                                  Accommodations
                                                                                Sentence
                                                                         2] 530 General
                                           2] 445 Amer. w/Disabilities - ~] 535 Death Penalty                             IMMIGRATION
                                                                                                                                                                    or Defendant)
                                                                                                                                                                871 IRS—Third Party
                                                                                                                                                                     26 USC 7609
                                                                                                                                                                                              3     896 Arbitration
                                                                                                                                                                                                    899 Administrative Procedure
                                                                                                                                                                                                        ActZReview or Appeal of
                                                  Employment

                                                     Other
                                                                            Other:
                                           23 146 Amer. w/Disabilities - __ 540 Mandamus & Other
                                                                                _ 550 Civil Rights
                                                                                                                  0  462 Naturalization Application
                                                                                                                     465 Other Immigration
                                                                                                                         Actions
                                                                                                                                                                                                        Agency Decision
                                                                                                                                                                                                    950 Constitutionality of
                                                                                                                                                                                                       State Statutes
                                                 448 Education                  _ 555 Prison Condition
                                                                                _ 560 Civil Detainee -
                                                                                      Conditions of
                                                                                      Confinement
 V. ORIGIN (Place an "X" in One Box Only)
[•~| 1     Original           pi 2 Removed from                      rj 3      Remanded from                |~~|4 Reinstated or      rj 5 Transferred from                n6 Multidistrict               Q 8 Multidistrict
           Proceeding              State Court                                 Appellate Court                    Reopened                Another District                   Litigation -                    Litigation -
                                                                                                                                          (specify)Transfer                                                  Direct File
                                                   Cite the U.S. Civil Statute under which you are filing (Do not citejinisilictlomil statutes unless diversity):
                                                   28 U.SC. 1332(a)
VI. CAUSE OF ACTION Brief description of cause:
                                                   Plaintiff allegedly injured while boarding commercial aircraft.
VII. REQUESTED IN                                         CHECK IF THIS IS A CLASS ACTION                            DEMANDS                                          CHECK YES only if demanded in complaint:
     COMPLAINT:                                          UNDER RULE 23, F.R.Cv.P.                                                                                     JURY DEMAND:         QYes      0No

VIII. RELATED CASE(S)
                                                        (See instructions):
      IF ANY                                                                    JUDGE                                                                           DOCKET NUMBER
DATE                                                                                  SIGNATURE OF ATTORNEY OF RECORD
    12/13/22                                                                         Zs/Scott R. Torpey
FOR OFFICE USE ONLY

      RECEIPT#                        AMOUNT                                              APPLYING IFP                                     JUDGE                                   MAG. JUDGE
      Electronically Filed 12/13/2022.11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901 / CLDLJ                                                                                         '
         Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 60 of 61. PageID #: 287
                   Case: l:22-cv-02243 Doc #: 1-7 Filed: 12/13/22 2 of 3. PagelD #: 56


                                             UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF OHIO
  I.               Civil Categories: (Please check one category only ).


                    1.       /        General Civil
                    2.                Administrative Review/Social Security
                    3.                Habeas Corpus Death Penalty
          *lf under Title 28, §2255, name the SENTENCING JUDGE:                             ...

                                           CASE NUMBER:
  II.   RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
          and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
          subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
          the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
          bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."
                         [   | Is RELATED to another PENDING civil case |      [is a
          This action:                                                                 REFILED case         was PREVIOUSLY REMANDED


 If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

 III.    In accordance with Local Civil Rule 3.8, actions Involving counties in the Eastern Division shall be filed at any of the
         divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
         purpose of determining the proper division, and for statistical reasons, the following information is requested.

         ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
         PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

         (1)    Resident defendant If the defendant resides in a county within this district, please set forth the name of such
         county
         county: Cuyahoga
         Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                     which it has Its principal place of business in that district.

         (2)   Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
               wherein the cause of action arose or the event complained of occurred.
         COUNTY:

         (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
               place of business within the district, and the cause of action arose or the event complained of occurred outside
               this district, please set forth the county of the plaintiffs residence.
         COUNTY

IV.     The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTERN DIVISION

                   AKRON                      (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                              (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
                  CLEVELAND                   Lake, Lorain, Medina and Richland)
                  YOUNGSTOWN                  (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION

                   TOLEDO                     (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                               Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                              VanWert, Williams, Wood and Wyandot)



Electronically Filed 12/13/2022 11:59 / NOTICE / CV 22 971208 / Confirmation Nbr. 2724901 / CLDLJ
               Case: 1:22-cv-02243-BMB Doc #: 20-1 Filed: 03/25/24 61 of 61. PageID #: 288
                            Case: l:22-cv-02243 Doc#: 1-7 Filed: 12/13/22 3 of 3. PagelD#:57
JS 44 Reverse (Rev. 3/22)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)      Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant, If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
           the official, giving both name and title.
     (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
           time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)      Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
           in this section "(see attachment)",

H.         Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
           United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
           United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box 1 or 2 should be marked.                                                                    '
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked. (See Section HI below; NOTE: federal question actions fake precedence over diversity
           cases.)

HI.        Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
           section for each principal party.

IV.        Nature of Suit. Place an "X" in the appropriate box, If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.         Origin. Place an "X" in one of the seven boxes.                                                                                                       .
           Original Proceedings. (1) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
           Section 1407.
           Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statute.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.       Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VHI. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
     numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




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